     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-5 Filed: 12/11/23 Page: 1 of 4 - Page ID#: 424

                                             COMMONWEALTH VS. CUNDIFF, JEFFERY BRUCE
                                             BOONE CIRCUIT COURT
                                             Filed on 04/19/2012 as CIRCUIT CRIMINAL with HON. ANTHONY W.
                                             FROHLICH
                    12-CR-00201              Disposition on 11/13/2012 by HON. ANTHONY W. FROHLICH
                                             **** NOT AN OFFICIAL COURT RECORD ****


    Parties                                                                                                         12-CR-00201

      CUNDIFF, JEFFERY BRUCE as DEFENDANT / RESPONDENT
       DOB: 10/07/1986 DLN: C04060040 Race: W Sex: M Hispanic: N Eye Color: BE Hair Color: BN Height: 505 Weight: 160

       Bail Bonds
            NO BAIL SET (DEF MAY NOT POST BOND) for $0.00 set on 02/10/2014
            NO BAIL SET (DEF MAY NOT POST BOND) for $0.00 set on 03/06/2013
            CASH for $25,000.00 set on 06/22/2012
            CASH for $25,000.00 set on 06/22/2012
            $25,000 COB
            UNSECURED for $1,000.00 set on 02/19/2012 and posted on 02/19/2012

       Address
            4609 EUREKA STREET
            COVINGTON KY 41051

       Summons
            CRIMINAL SUMMONS issued on 04/19/2012 for 05/23/2012 12:00 AM in room 4B by way of PERSONAL SERVICE
            KENTON 4-30-12 SUMMONS RETURNED UNSERVED/ NO LONGER


      SAUNDERS, C BCS, as COMPLAINING WITNESS
      FICHNER, JEFF, as COMMONWEALTH'S ATTORNEY
      PD APPOINTED as ATTORNEY-PUBLIC ADVOCATE


    Charges                                                                                                         12-CR-00201

      POSS CONT SUB, 1ST DEGREE, 1ST OFFENSE HEROIN - 218A.1415
        CHARGE 1 ORIGINAL 0422050
        Charged on 04/10/2012 by citation 2BD178852-1

        GUILTY Disposition on 11/13/2012 by NO TRIAL
        Sentenced on 11/13/2012 fine amount of $1,000.00 cost amount of $906.00
        PRISON: 3 yrs ( 3 yrs Suspended) SUPERVISED PROBATION: 3 yrs
        FOLLOW ALL TERMS OF PROBATION - $750 PA FEE - $25 PER MONTH - 1ST PAYMENT DUE ON 1-15-2013 - NA AND/OR AA 3 X PER WK
        REPORT TO PO
        PERMIT PO VISIT
        NOTIFY/ANS PO
        CPD OTHER

      DRUG PARAPHERNALIA - BUY/POSSESS - 218A.500(2)
        CHARGE 2 ORIGINAL 0420810
        Charged on 04/10/2012 by citation 2BD178852-2

        GUILTY Disposition on 11/13/2012 by NO TRIAL
        Sentenced on 11/13/2012
        JAIL: 12 mos ( 12 mos Suspended) SUPERVISED PROBATION: 3 yrs
        SEE CHARGE # 1

      *OBS* GIVING OFFICER FALSE NAME OR ADDRESS - 523.110(1)
        CHARGE 3 ORIGINAL 0026950
        Charged on 04/10/2012 by citation 2BD178852-3

        GUILTY Disposition on 11/13/2012 by NO TRIAL
        Sentenced on 11/13/2012
        JAIL: 12 mos ( 12 mos Suspended) SUPERVISED PROBATION: 3 yrs
        SEE CHARGE # 1




                                                                                                         EXHIBIT 5
12/7/2023                                                     84997-7                                                             1
     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-5 Filed: 12/11/23 Page: 2 of 4 - Page ID#: 425

    Documents                                                                                                       12-CR-00201

      CALENDAR ORDER entered on 04/19/2012

      DISTRICT COURT FILE filed on 04/19/2012
        12-F-200

      INDICTMENT filed on 04/19/2012

      ORDER OF CONTINUANCE entered on 05/30/2012
        ARRAIGN. ON JUNE 20, 2012

      CONDITIONS OF RELEASE PENDING TRIAL filed on 08/22/2012

      CONDITIONS OF RELEASE PENDING TRIAL filed on 08/27/2012

      ORDER SETTING BOND entered on 09/06/2012

      CONDITIONS OF RELEASE PENDING TRIAL filed on 09/06/2012

      ORDER FOR DISCOVERY entered on 09/07/2012

      ORDER OF CONTINUANCE entered on 09/07/2012
        PC 10-3-12/ JT 10-25-12

      DISCOVERY filed on 09/07/2012

      COMMONWEALTH OFFER ON A PLEA OF GUILTY filed on 10/03/2012

      ENTRY OF GUILTY PLEA filed on 10/03/2012

      JUDGMENT ON PLEA OF GUILTY entered on 10/09/2012

      ORDER OF COMMITMENT entered on 11/08/2012

      CREDIT FOR TIME SERVED filed on 11/08/2012

      JUDGMENT / SENTENCE - PLEA OF GUILTY entered on 11/13/2012

      ORDER OF PROBATION entered on 11/13/2012

      CONDITIONS OF RELEASE PENDING TRIAL filed on 03/05/2013

      AFFIDAVIT TO MODIFY/REVOKE PROBATION filed on 03/06/2013
        ADENA LUEHRMANN - P & P - SUPERV. REPORT

      CONDITIONS OF RELEASE PENDING TRIAL filed on 03/08/2013

      ORDER SETTING BOND entered on 03/21/2013
        AND CONDITIONS OF RELEASE

      ORDER OF INDIGENCY entered on 03/21/2013

      ORDER OF CONTINUANCE entered on 03/21/2013
        4-3-13

      AFFIDAVIT OF INDIGENCY filed on 03/21/2013

      CONDITIONS OF RELEASE PENDING TRIAL filed on 03/22/2013

      ORDER OF COMMITMENT entered on 04/03/2013

      ORDER - OTHER entered on 04/05/2013
        IN LIEU OF REVOCATION, DEF SHALL REMAIN IN JAIL UNTIL AN INPATIENT BED DATE IS AVAILABLE & SUCC. COMPLETE ALL PHASES OF
        TREATMENT. DEF SHALL REMAIN ON PROBATION

      ORDER - OTHER entered on 06/24/2013
        6-25-2013 DEF. SHALL BOARD A BUS TRAVELING TO CINTI. OHIO - HE SHALL BE RELEASED FROM CASEY CO. 1 HR PRIOR TO DEPATURE
        OF BUS - DEF SHALL TRAVEL IMMEDIATELYT TO JEFFRY CUNDIFF SEE ORDER FAXEDTO CASEY

      AFFIDAVIT TO MODIFY/REVOKE PROBATION filed on 02/10/2014
        P&P- ADENA LUEHRMANN

      SUPPLEMENTAL FILING filed on 02/27/2014
        P&P

      ORDER OF INDIGENCY entered on 05/07/2014
        GRANTED

      AFFIDAVIT OF INDIGENCY filed on 05/07/2014

      ORDER OF CONTINUANCE entered on 05/08/2014
        05-21-2014




12/7/2023                                                    84997-7                                                              2
     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-5 Filed: 12/11/23 Page: 3 of 4 - Page ID#: 426

      ORDER OF CONTINUANCE entered on 05/21/2014

      ORDER OF CONTINUANCE entered on 05/21/2014

      ORDER OF PROBATION entered on 06/03/2014


    Events                                                                                                    12-CR-00201

      REVOCATION HEARING scheduled for 05/21/2014 01:00 PM in room 4B with HON. ANTHONY W. FROHLICH

      REVOCATION HEARING scheduled for 05/07/2014 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

            Super Memo
             05/09/2014

             TRANSFER Crt ROOM 4B - 4TH FLOOR COURTHOUSE with FROHLICH, HON. ANTHONY W. 05/21/2014 01:00 PM
             REVOCATION HEARING




      REVOCATION HEARING scheduled for 04/03/2013 01:00 PM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

      REVOCATION HEARING scheduled for 03/20/2013 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

            Super Memo
             03/26/2013

             TRANSFER Crt ROOM 4B - 4TH FLOOR COURTHOUSE with FROHLICH, HON. ANTHONY W. 04/03/2013 01:00 PM
             EVIDENTIARY HEARING{BOONE}




      SENTENCING scheduled for 11/07/2012 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

      PRETRIAL CONFERENCE scheduled for 10/03/2012 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

      ARRAIGNMENT scheduled for 09/05/2012 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        BOONE

            Super Memo
             09/07/2012

             ADD A PARTY , =PD APPOINTED
             CONTINUE CRT 4B ROOM 4B - 4TH FLOOR COURTHOUSE 10/03/2012 09:00 AM PRETRIAL CONFERENCE{BOONE}
             CONTINUE CRT 4B ROOM4B - 4TH FLOORCOURTHOUSE 10/25/2012 09:00 AM JURY TRIAL{BOONE}




      ARRAIGNMENT scheduled for 06/20/2012 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH

            Super Memo
             06/22/2012

             CASH BOND $25,000.00
             BENCH WARRANT (NO PRINT) ACTIVE FTA CASH BOND $25,000.00 1,2,3{$25,000 COB}
             CONTINUE CRT 4B ROOM 4B - 4TH FLOOR COURTHOUSE 09/05/201209:00 AM REVIEW{WARRANT REVIEW}




      ARRAIGNMENT scheduled for 05/23/2012 09:00 AM in room 4B with HON. ANTHONY W. FROHLICH
        4-30-12 SUMMONS RETURNED UNSERVED/ NO LONGER

            Super Memo
             05/25/2012

             Continue Crt 4B ROOM 4B - 4TH FLOOR COURTHOUSE 06/20/2012 09:00 AM ARRAIGNMENT




12/7/2023                                                     84997-7                                                       3
     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-5 Filed: 12/11/23 Page: 4 of 4 - Page ID#: 427

      JURY TRIAL in room 4B with HON. ANTHONY W. FROHLICH
         JT REMANDED 10-25-2012 PLEA


    Case Cross Reference                                                                       12-CR-00201

      GRAND JURY cross reference on 04/19/2012 to CIRCUIT 12-F-00200


    Images                                                                                     12-CR-00201

       There are no images found for this case.


                                                  **** End of Case Number : 12-CR-00201 ****




12/7/2023                                                          84997-7                                   4
